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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

IN RE:                                              CHAPTER 13 PROCEEDINGS
LAURENCE U SHIPP
MARY L SHIPP                                        CASE NO: 15-20031 KL
   Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

       Pursuant to Federal Bankruptcy Rule 3002.1(f), the Trustee filed Notice that the amount
required to cure the default in the below claim has been paid in full, and the ongoing post-petition
payments are current.

Name of Creditor: BSI FINANCIAL SERVICES
Court Claim No.: 21

Last four (4) digits of any number used to identify the Debtor’s account: 2869


Final Cure Amount:

       Amount of Allowed Pre-Petition Arrearage: $00.00

       Amount Paid By Trustee                          $00.00


Monthly Ongoing Mortgage Payment is Paid:

       _XX__ Through the Chapter 13 Trustee conduit                ___ Direct by the Debtor


        Within 21 days of the service of this Notice, the creditor must file and serve same on the
Debtor, Debtor’s counsel and the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(g), a
Statement indicating whether it agrees that the Debtor has paid in full the amount required to cure the
default and whether, consistent with Federal Bankruptcy Rule 1322(b)(5), the Debtor is otherwise
current on all the payments or be subject to further action of the Court including possible sanctions.


Dated: April 1, 2019                                Respectfully Submitted:

                                                    /s/ Paul R. Chael
                                                    Standing Chapter 13 Trustee
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                                     CERTIFICATE OF SERVICE

I hereby certify that on April 1, 2019, service of a true and complete copy of the above and foregoing
pleading or paper was electronically sent through the court’s ECF system to the following parties:

U.S. Trustee
Attorney for Debtor(s): DAVID DABERTIN ATTY AT LAW CORP

and upon the following by depositing the same in the United States mail, envelopes properly address
to each of them and with sufficient first-class postage affixed.

Debtor(s) - LAURENCE U and MARY L SHIPP, 2449 MARSHALL PL, GARY, IN 46404 ,
Creditors(s) – BSI FINANCIAL SERVICES, 1425 GREENWAY DRIVE, STE 400, IRVING, TX 75038

                                                       Paul R. Chael /s/
                                                       Paul R. Chael, Chapter 13 Trustee
                                                       401 West 84th Drive, Suite C
                                                       Merrillville, IN 46410
